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F"‘ED BW~{C.~_ o.c.

USAUG is nunn

lmrda assn
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m tanner

for

WESTERN DISTRICT OF TENNESSEE

U.S.A. vs. .loe Lee Williams Docket No. 2:03CR20260-0

      

Petition on Probation and Supervised Release

COMES NOW Edward E. Shaw PROBATION OFFICE.R OF THE COURT presenting an
official report upon the conduct and attitude of Joe Lee Williams who was placed on supervision by the
Honorable J. Daniel Breen sitting in the court at Memphis, TN on the ;§_t_llday of Februa[y ,QQQA who fixed
the period of supervision at three (3 1 years , and imposed the general terms and conditions theretofore adopted
by the Court and also imposed Special Conditions and terms as follows:

l. The defendant shall serve a period of six (6) months of Home Detention. (Completed)

2. The defendant shall make full financial disclosure as directed by the Probation Offlce.

3. The defendant shall not acquire any new financial obligations without permission of the Probation
Officer.

4. The defendant shall participate in substance abuse testing/treatment as deemed appropriate by the
Probation Office.

2. The defendant shall jointly and severally pay restitution in the amount of $35,622.56 in regular

monthly installments of ten percent (10%) of gross income. (Balance $33,8]4.56)
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant has consented, as indicated by his signature on the attached Probation Form 49, Waiver of Hearing
to Modify Conditions of Probation/Supervised Release or Extend Term of Supervision, to the Court imposing an
additional Special Condition, which states:

You shall participate and complete as directed by the Probation Ofticer in a program approved by the
Probation Officer for mental health evaluation, counseling and treatment

PRAYING THAT THE COURT WILL ORDER that as a Special Condition of Probation, the defendant shall
participate and complete as directed by the Probation Ollicer in a program approved by the Probation Offlcer for
mental health evaluation, counseling and treatment

ORDER OF COURT Respectfully,
- - f d°," M/&_¥
Considered and ordered th15 L' day »
of , 2005 and ordered Edward E. Shaw, U.S. Probation OHicer
filed and made a art of the records in the Electronic Monitoring Specialist

the a ve case.
Place: Memphis. TN

___ Date: August 8. 2005
U Ite States DiStI`iCt JUd§€ mem entered gm the docke§heet in compliance

wis dow (b) FRGrP on __"_l_g_'_Q_‘-S:~ 4 7

 

with Flu\e 55 and/or 32

PROB 49 Case 2:03-cr-20260-.]DB Document 47 Filed 08/16/05 Page 2 of 3 Page|D 74
(3/89)

United States District Court
Westem District Of Tennessee

Waiver of Hearing to Modify Conditions
of ProbationISupervised Release or Extend Term of Supervision

l have been advised and understand that I am entitled by law to a hearing and assistance of counsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended By "assistance of counsel," I understand that I have the right to be represented at the hearing by
counsel of my own choosing ifI am able to retain counsel. l also understand that I have the right to request the court
to appoint counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of my own
choosing

I hereby voluntarily waive my statutory right to a hearing and to assistance of oounsel. I also agree to the
following modification of my Conditions of Probation and Supervised Release or to the proposed extension of my
term of supervision:

You shall participate and complete as directed by the Probation Oflicer in a program
approved by the Probation Officer for mental health evaluation, counseling and treatment

Witness: M z /"

Edward E. Shaw
U.S. Probation Ofticer
Westem District of Tennessee

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:03-CR-20260 was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Dan Newsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

